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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



IN RE APPLICATION OF PALANTIR
TECHNOLOGIES INC. FOR AN ORDER
PURSUANT TO 28 U.S.C. § 1782 TO
OBTAIN DISCOVERY FOR USE IN                        Civil Action No. 1:22-mc-00047-RMM
FOREIGN PROCEEDINGS




                       NOTICE OF WITHDRAWAL OF COUNSEL

       To the Clerk of this Court and all parties of record:

       PLEASE TAKE NOTICE that, pursuant to Local Rule 83.6(b), Olivia P. Greene hereby

respectfully withdraws her appearance as counsel for Applicant Palantir Technologies Inc. in the

above-captioned case. David Y. Livshiz, Wang Jae Rhee, Robert G. M. Barton, and Matthew S.

Rublin of Freshfields Bruckhaus Deringer US LLP, all whom have already noticed appearances,

will continue to represent Palantir.


Dated: August 2, 2022              By:   /s/ Olivia P. Greene         . .
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